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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                          :
 HONGYU XIE, individually and on behalf of all others                     :
 similarly situated,                                                      :
                                                                          :        24-CV-6057 (JMF)
                                     Plaintiff,                           :
                                                                          :             ORDER
                   -v-                                                    :
                                                                          :
 NANO NUCLEAR ENERGY INC. et al.,                                         :
                                                                          :
                                     Defendants.                          :
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JESSE M. FURMAN, United States District Judge:

        On February 21, 2025, Defendants filed a motion to dismiss the Amended Complaint under
Rule 12(b) of the Federal Rules of Civil Procedure. ECF No. 55. Under Rule 15(a)(1)(B), a
plaintiff has twenty-one (21) days after the service of a motion under Rule 12(b) to amend the
complaint once as a matter of course.

        Accordingly, it is hereby ORDERED that, notwithstanding the briefing schedule adopted on
November 4, 2024, ECF No. 45, Plaintiff shall file any amended complaint by March 14, 2025.
Pursuant to Local Civil Rule 15.1, available at https://www.nysd.uscourts.gov/rules, any amended
complaint should be filed with a redline showing all differences between the original and revised
filings. Plaintiff will not be given any further opportunity to amend the complaint to address issues
raised by the motion to dismiss.

        If Plaintiff does amend, by four (4) weeks after the Second Amended Complaint is filed,
Defendants shall: (1) file an answer; (2) file a new motion to dismiss; or (3) file a letter on ECF
stating that they rely on the previously filed motion to dismiss. If Defendants file an answer or a
new motion to dismiss, the Court will deny the previously filed motion to dismiss as moot. If
Defendants file a new motion to dismiss or indicate that they rely on their previously filed motion to
dismiss, any opposition shall be filed within four (4) weeks, and any reply shall be filed within three
(3) weeks of any opposition.

       If no amended complaint is filed, the existing briefing schedule shall remain in effect,
pursuant to which Plaintiff shall file any opposition to the motion to dismiss by April 7, 2025, and
Defendant shall file any reply by May 7, 2025. See ECF No. 45.

        SO ORDERED.

Dated: February 24, 2025                                   __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
